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UNITED STATES DISTRICT COURT JS6
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES —- GENERAL

Case No. CV 21-07865-VBF (DFM) Date: November 30, 2021

 

Title Nigel M. Stimpson v. California Department of Corrections and Rehabilitation

 

 

Present: The Honorable Douglas F. McCormick, United States Magistrate Judge

 

 

 

Nancy Boehme Not Present
Deputy Clerk Court Reporter
Attorney(s) for Plaintiff(s): Attorney(s) for Defendant(s): |
Not Present Not Present

 

Proceedings: (IN CHAMBERS) Order Dismissing Action Without Prejudice

On September 27, 2021, Petitioner Nigel M. Stimpson, a state prisoner proceeding pro se,
constructively filed a Petition for Writ of Habeas Corpus by a Person in Federal Custody under 28
U.S.C. § 2254. See Dkt. 1. On October 13, the Court issued an Order to Show Cause, which
explained that the Petition appear unexhausted and instructed Petitioner to demonstrate
exhaustion, request that the Petition be dismissed, or file a formal stay-and-abey motion. See Dkt.

3. On November 3, Petitioner requested that the Petition be dismissed without prejudice under
Federal Rule of Civil Procedure 41(a)(1). See Dkt. 6.

Accordingly, the Petition is dismissed without prejudice and the Clerk of Court is
directed to close this case.

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